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            EXHIBIT 3
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                          UNITED STATES DISTRICT COURT

                        NORTHERN DISTRICT OF CALIFORNIA


IN RE: ROUNDUP PRODUCTS                 MDL No. 2741
LIABILITY LITIGATION
                                        Case No. l6-md-0274 1 -VC


This document relates to:
Hardeman v. Monsanto (3 : I 6-cv-525)




                               EXPERT REPORT OF

                                DR. CHADI NABHAN
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Official Report
Date LL|ZO{ãOLS

Hardeman V. Monsanto

Prepared by: ChadiNabhan, MD, MBA, FACP

Prepared for: Kathryn Forgie, Esq.



    a   Mr. Hardeman was born in San Francisco, CA on 07 /2O/I948. He is 70.5 years of age as of the
        time this report is written

    a   On 12126/2014 (at the age of 66-67), Mr. Hardeman was seen by Dr. Todd for "swollen glands"
        He was found to have enlarged lymph nodes in the anterior cervical and submandibular areas'
        lnitially, he was observed,

    a   Due to persistent adenopathy, he was referred to a surgeon (Dr. Turley) on0Il2Bl2OL5 where
        he underwent a fine needle aspiration that initially suggested a necrotic neoplasm. This was
        essentia lly non-diagnostic.


        On O2106120L5, Mr. Hardeman underwent an open excisional biopsy of one of these enlarged
        nodes. The final pathology confirmed diffuse large B-cell lymphoma (DLBCL). Additional staining
        studies showed MUM-1 and BCL-6 positivity, negative arrangements for MYC and BCL-2, EBER-
        negativity, and Kl-67 at 80%. DLBCL is an aggressive form of NHL that is fatal if not treated.
        Treatment of DLBCL is dependent on its stage, patient age, co-morbidities, and goals of care.

            o   The staining of MUM-1 and BCL-6 positivity confirms that his DLBCL is of the non-
                germinal center origin (non-GCB). This subtype has been associated with inferior overall
                survival, faster progression, and overallworse prognosis compared with the GCB
                subtype (scott, DW, J Ctin Oncol;vol 33 (26); 28a8-2856; 2015), (Alizadeh AA, Nature;
                Vot 403 (6769); 503-511; 20001


            o Several studies have explored the prognostic value of Kl-67 expression. Most experts
                agree that high Kl-67 expression implies adverse prognosis. Example of such study is one
                that has shown Kl-67 > 80% leads to inferior overall survival (OS) and progression-free
                survival (PFS), (Goudio F et at; Acta Haemotol; vol 726 (1); aa-51; 20111. While some
                studies did not confirm that Kl67 has a prognostic significance, the National
                Comprehensive Cancer Network (NCCN) guidelines considers Kl67 staining as an
                essential part of the initial pathologic diagnosis for DLBCL underscoring its importance
                (Lrttp://oncolife.co.m.ualdoç/nccn/B-Cel l-,Lvil phoma$.pdf).

    a   Additional staging studies (PET-scan and bone marrow biopsy) confirmed stage lllA disease'
            o   Staging of DLBCL is used to determine the extent of the disease throughout the patient's
                body. Stage lll signifies advanced stage with presence of lymph nodes on both sides of
                the diaphragm. The bone marrow biopsy was negative. The letter A after lll means that


                                                                                                           1.
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            the patient did not have any fevers, drenching night sweats, or unintentional weight loss
            at the time of his diagnosis.
a   The lnternational Prognost¡c lndex (lPl) at the time of diagnosis was 2, meaning that Mr'
    Hardeman had low-intermediate risk score based on clinical factors.

        o The lpl has been used by clinicians since 1993 when a publication demonstrated that 5
            clinicalfactors separate DLBCL patients into low, low-intermediate, high-intermediate,
            and high-risk disease. These factors are: age >60, advanced stage, more than one extra-
            nodal site of disease, poor performance status at diagnosis, and elevated LDH (blood
            test that suggests high volume disease when elevated). Mr. Hardeman had 2 of these 5
            factors (age >60 and advanced stage disease). (N EnglJ Med; Vol 329
                                                                                  p ); 987-994;
            lee3).

a   Mr. Hardeman was started on chemotherapy on 212412Ot5. He received his first cycle of
    rituximab, cyclophosphamide, vincristine, Adriamycin, and prednisone (R-CHOP). The plan was
    to administer a total of 6 cycles of therapy with a curative intent of his DLBCL. Rituximab is an
    antibody against CDIO,which is a protein that is highly expressed on the malignant DLBCL cells.
    Rituximab has a rare side effect of reactivating hepatitis B in patients who have had prior
    exposure to that virus. Therefore, patients with this lymphoma diagnosis are screened ahead of
    starting this chemotherapy for the possibility of prior exposure that might have gone unnoticed
    Mr. Hardeman was found to have hepatitis B Core antibody positive implying a prior exposure
    and putting him at a potential risk for possible activation of the virus upon treatment'
    Accordingly, he was treated with lamivudine daily as a therapy to prevent possible reactivation.
    This concomitant therapy is a standard of care in any lymphoma patients with prior exposure
    who will receive rituximab therapy.

a   On 4/6/20t5, the decision was made to reduce the dose of R-CHOP due to the patient
    developing neutropenic fever (fever in the presence of very low white blood cell counts and
    neutrophils), a known complication of chemotherapy'

a   Mr. Hardeman received the 4th cycle of R-CHOP chemothera py on 04128120t5

a   Mr. Hardeman completed the final and 6th cycle of R-cHoP on06lo9l20t5



a   Side effects from the chemotherapy while receiving it included nausea, vomiting, fatigue,
    chemo-brain, and significant bone pain as a result from the use if growth factors after
    chemotherapy. Growth factors are usually used to diminish the risk of patients developing
    neutropenic fever and potential infections.

a   Mr. Hardeman underwent a PET-Sca n on 07113/20L5 to assess for response after completion of
    therapy, There was no evidence of increased uptake, confirming that he was in metabolic
    complete remission. He remains in remission and his next oncology follow-up appointment is
    scheduled onIlL6l2Ot9. He is also scheduled for a CT-Scan in March 201"9'




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    ln investigating the etiology and what caused Mr. Hardeman's DLBCL, one must look carefully at
    his history, assess potential risk factors, and then determine possible contributing elements, if
    any, to him developing this disease'

a   There are several known risk factors to pat¡ents developing non-Hodgkin lymphoma (NHL) in
    general and DLBCL in Particular.

o   It is important to note that the majority of DLBCL and NHL patients have no known causes for
    their disease. Physicians would label that as "unknown cause" or "idiopathic". Having said that,
    there are situations where the causes could be explored and ascertained and accordingly, a
    comprehensive evaluation is needed in every patient to attempt identifying the possibility of
    causative factors where the case is not idiopathic.



a   Mr. Hardeman was diagnosed at the age of 66-67, which is similar to median age of DLBCL
    patients at diagnosis in the US. This however, does not eliminate the possibility of certain
    causative factors to his disease. ln fact, part of any history and physical is asking all patients
    about risk factors, exposure, family history, occupational hazards, and other elements of their
    life style. This exercise, which is a standard of care in medical practice, is performed to reveal
    any potential modifiable risk factors, which if eliminated could have substantial impact on the
    disease course and prognosis.

a   Mr, Hardeman does not have any known autoimmune disease, a known potentialriskfactorto
    developing NHL

a   Mr. Hardeman did not have HlV, a known risk factor to developing NHL.

a   At the time of his diagnosis, Mr. Hardeman was not on any immunosuppressant drugs that
    might have led to the development of NHL



a   Mr. Hardeman was found to have hepatitis B core antibody positivity. This implies prior
    exposure to this virus although the patient could not recall that he ever was jaundiced or was
    told that he had hepatitis B. Viral hepatitis has been implicated as a risk factor for development
    of NHL, quantifying such risk has not been clear. Studies are more suggestive that the highest
    risk to developing NHL in patients with prior hepatitis B exposure is amongst those with Hep-B
    surface antigen positivity, which is not the case here
    (https://www.ncbi.nlm.nih.eov/pmc/arjicles/PMC3301438/). Some studies questioned the
    association between hepatitis-B and NHL
    (http://www.bloodiournal.ors/content1110/1U2627?sso-checked=true). Another study looked
    at the SEER-Medicare database and selected 6L,464 patients over the age of 67, who suffered
    from hematologic malignancies. These were compared to I22,53t population-based controls.
    Hepatitis B was prese ntin 0.2% of the cases and 0,2% of the controls. The authors of this large
    investigation concluded that Hepatitis B was unrelated to hematologic malignancies
    (https://www.ncbi. nlm.nih.sov/pmc/articles/PMC2597453/).




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a   Mr. Hardeman did have a history of hepatitis C that was diagnosed in 2005. He cannot be t)O%
    sure how he contracted this virus, but stated that he used intravenous drugs between l-966-
    1969 before enlisting in the army in 1970. When he enlisted in the army, and according to the
    patient, blood tests were done and were negative. He also had a tattoo sometime in the late
    1960s. The medical records did not show any evidence of hepatitis C prior to 2005.



a   Hepatitis C is a known risk factor for developing NHL, however Mr, Hardeman was treated
    effectively with interferon therapy in 2005; his hepatitis C treatment was completed on or
    around November 2006. At the time of his DLBCL diagnosis, he underwent laboratory testing
    that showed no evidence of hepatitis C by quantitative RNA methodology. Since 2005, all blood
    tests that he had showed no evidence of hepatitis C and that he has cleared the virus
    completely. While hepatitis C is considered a risk factor to developing NHL, there is abundance
    evidence that when hepatitis C is successfully treated and there is no detectable virus in
    patients, the risk of hepatitis C-related DLBCL is almost negligible. Hepatitis C is a risk factor
    when active and present in the blood'

        o ln a 2OO7 study, Kawamura et al (Americon J of Medicine; Vol 720; 1034-1041), studied
            5OL consecutively hepatitis C infected patients who have never received interferon
            therapy, and compared them with 2708 hepatitis C infected patients who were treated
            with interferon. The development of NHL in the interferon-treated group was 0% up to
            1.5-years of follow up. The authors concluded that the annual incidence of malignant
            lymphoma among patients with hepatitis C is low alO.23% but that sustained virologic
            response induced by interferon therapy protects against the development of NHL in
            patients with known hepatitis C. I note that Mr. Hardeman received interferon in 2005
            and has sustained an excellent virologic response until now including the time when he
            was diagnosed as illustrated above.

        o ln fact, there are some studies that have shown that giving patients anti-viral therapy
            against hepatitis C and after completing treatment for lymphoma, reduces the chances
            of lymphoma relapse significantly, Pellicelli etal (Clinical and Experimental Hepotology;
            2078; 4; 3; 197-200) reported that antiviral therapy is an important strategy to prevent
            relapse of DLBCL patients in those who develop NHL because of hepatitis C. Tsutsumiet
            al (Ann Hematology;2Ot7;96;2057-2061)also showed similar results. These studies
            support that successful treatment of hepatitis C reduces relapse of DLBCL whether given
            before or after treatment of lymphoma'

        o   While hepatitis C is a potential risk factor to developing NHL, it is my opinion that it had
            no role in the development of Mr. Hardeman DLBCL. Reasons for this belief are
            explained above but essentially, he was successfully treated in 2005, has not had any
            evidence of viral recurrence, and his viral load by RNA was not detectable in 2015 when
            he was diagnosed with DLBCL.

a   Other known viruses that might contribute to developing NHL include Epstein-Bar Virus (EBV).
    Mr. Hardemaan was EBV+ by lgG suggesting prior exposure, which is similar lo 90% of the US
    population that is lgG Positive
    (https://www.sciencedailv.com/releases/2010/121101215121905.htm)     . The fact that his



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    pathologic biopsy and specimen was EBER-negative confirms that his lymphoma is not related to
    EBV and that EBV is/was not an etiologic factor in the development of his DLBCL'


a   Mr. Hardeman has a body mass index (BMl) of 32.L8. There have been some epidemiologic
    reports linking obesity to NHL. Notably, obesity has been linked to many malignancies:
    endometrial cancer, esophageal cancer, gastric cancer, liver cancer, multiple myeloma,
    meningioma, pancreatic cancer, colorectal cancer, breast cancer, thyroid cancer, ovarian cancer,
    a nd ga b la dde r ca nce r. ( https: //www. ca ncer.sovla bout-ca nce r/ca useL
           II


    prevention/risk/obesitv/obesitv-fact-sheet#qL) The American Cancer Society suggests that NHL
    risk might increase in obese patients: (https://www..cancer.org/cancer/cancer-causes/diet-
    phvsical-activitv/bodV-weieht-A¡d-cancer-risk/effects.html) lnterestingly, it is well-known that
    unfortunately, many people in the US are considered obese, a trend that is not welcome by
    many health care officials and policy makers. Some have stated that up to 40% of the US
    population is obese (http:1/time.com/4980?2SlQbesitv.-rates-adults-children/) Two of every
    three Americans is considered overweight or obese
    (https:l/en.wikipedia.orelwiki/Obesity"in the United States), underscoring the prevalence of
    obesity in the US. ln 2018, less than 75,000 new cases of NHL are expected to be diagnosed in
    the US (https://seer.cancer.sov/statfacts/html/nhl.html) and of these, about 30-35% are usually
    of the DLBCL subtype. The difference between how common and prevalent obesity is as
    compared with the incidence of NHL and DLBCL would question is obesity is causing NHL in this
    patient. ln my opinion, the evidence linking obesity as a risk factor for NHL is inconclusive. The
    largest analysis that attempted answering that question collected data on thousands of NHL
    patients in and outside the US and found that the potential association is unclear and it requires
    more studies (httpï1/www.ncþi.nlm.nih.gqv/prnc/articleslPMC3928289l) Hypothetically, even
    if obesity contributed to him developing DLBCL, it would be more pressing and critical to
    eliminate any other potential hazardous factors that might lead to further development of this
    disease.

a   Exposure to pesticides has been linked to development of NHL. There are several reports that
    confirm this association and the majority of cancer centers as well as the American Cancer
    Society list pesticides exposure as a known risk factor to developing NHL
                                                       m
    factors.html) (https://mv.clevela ndclinic.ors/health/diseases/15662-adult-non-hodekins-
    lvmphoma)Also , Schinasi and Leon performed a systematic review and a Meta-Analysis to
    better understan d the association between agricultural pesticide chemicalgroups and NHL
    development. The search included articles published in English since L980 until 2014. When
    repeated papers were reviewed, the one with the most complete and updated analysis was
    used. Starting with 858 articles , 44 only were included in the qualitative analysis and of these, 20
    papers provided estimates of association with herbicide chemical groups or active ingredients, 4
    provided association with fungicides, and L7 with insecticides. Of the included papers, several
    had specific data on glyphosate (McDuffie et al 2007; Hardell et ol 2002; De Roos et ol, 2003; De
     Roos et ot, 2005; Eriksson et ol, 2008; and Orsi et al, 2009). The studies that were analyzed in
    this Meta-Analysis were performed in the US, Canada, Europe, Australia, and New Zealand. This
    Meta-Analysis found an association between glyphosate and B-cell lymphoma with an OR 2'0
    (95% Ct:1.i.-3.6) and this was the same OR for DLBCL. This Meta-Analysis represented a
    summary of the data published in the preceding 25 years. lt confirmed a plausible association
    between glyphosate and NHL evolution and development.


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a   During my meeting with him, Mr. Hardeman stated that he has been exposed to
    RoundUp/Glyphosate since 1988. His exposure was essentially for residential use. He initially
    learned about RoundUp from a landscaper that helped him maintain his property that he owned
    between 1985-1988. He then bought a large property (56 acres) in 1988 and used RoundUp
    himself to spray. Between tg88-2012, he sprayed biweekly using a pump-up and hand sprayer.
    He would spend about 2 hours spraying every time he did so. Essentially, he would spray 4
    hours/month for about 7 months every year, as he did not spray during winter months' On
    LZ/3L/20L2, he sold that property and moved to a residential area where he did not need to
    spray. He did not wear protective gears, gloves, or goggles. He mixed the RoundUp himself and
    commented that occasionally, he gets mists on his face when using the compound especially on
    windy days. lt appears that Mr. Hardeman used RoundUp/Glyphosate consistently for 25 years
    (1933-2013) and that his use slowed down but continued between 2013-2015.



a   This exposure to Roundup/glyphosate, a known pesticide, is important in view of literature that
    links glyphosate to NHL. I have personally evaluated epidemiologic studies published on the
    topic and how they correlate clinically on patients diagnosed with lymphoma.

        o   ln March 2015, the lnternational Agency of Research on Cancer (IARC) classified
            glyphosate as a probable human carcinogen (class 2A) after thorough, independent, and
            rigorous investigation by independent researchers and investigators in the field. IARC is
            a division of the World Health Organization (WHO) (h-ttps://www.iarc.frl), established in
            1965 as an independent body to assess potential human hazards that can cause cancer'
            For IARC to evaluate a substance as a potential carcinogen, such substance must have
            ubiquitous human exposure and there must be some preliminary data to suggest a
            potential harm and carcinogenicity.

        o   As of the last update on07l3O/2O18, IARC had evaluated 1",006 substancessince its
            inception. This shows the high selectivity of IARC in deciding which substance to
            evaluate, Of these, only 20% were classified as either group 1 (human carcinogens) or
            2A (probable human carcinogens)(https://monographs.iarc.frlaeents-classified-bv-the-
            iarc/)

        o   IARC reviews peer-reviewed published literature including epidemiologic studies, animal
            data, and genotoxicity studies. ln addition, IARC assesses plausible mechanisms of
            action for possible carcinogenicity of the studied compound. Some of the studies that   I



            have reviewed, analyzed, and assessed, which were also included in the IARC report are
            summarized below:

                    One epidemiologic study was published by McDuffie et al (Cancer Epidemiology,
                    Biomarkers, and Prevention; Vol. 70, 7755-7763, November 20011where 517
                    cases and L5O6 controls were included. The risk of NHL was statistically
                    significantly increased among glyphosate exposed individuals more than two
                    days per year with an OR of 2.I2 (95% Cl: I'20-3.73). This doubling of the risk
                    was statistically significa nt.




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           Another analyzed study was published by DeRoos et al in 2003 (Acçyp Enviran
           Med.2003 Sep; 60 (9): 811.1where 650 cases and 1.933 controls were evaluated.
           The OR for glyphosate increasing the risk of developing NHL was 2.1 (95% Cl:
           1.1-4.0). This doubling of the risk was statistically significant, The authors of this
           study performed a hierarchical regression analysis, which reduced the OR to L.6
           (95% Cl:0.9-2.8), however the hierarchal regression in this study has its own
           limitations that question its findings in my opinion. First, logistic regression is
           what we almost always used clinically because the hierarchical model makes a
           number of assumptions that get incorporated into the final estimates, but the
           accuracy of the output is contingent on the assumptions included in the model.
           ln this paper, DeRoos et al gave glyphosate a "carcinogenicity rating" of 0.3. This
           rating would be inaccurate if we are to perform the modeling today. According
           to DeRoos et al, a weighting factor of 0.6 should be given to any substance that
           is found by IARC to be probably carcinogenic to humans. lf the new assumption
           is applied to the model, the output of the hierarchical regression would likely
           change. This modeling also assumed that all agents/herbicides studied have the
           same effect on NHL, however we do not know if this is the case nor do we have
           data that these other pesticides are indeed causing NHL to be properly included
           in the model. Lastly, the OR of 1,6 that is found in the hierarchal regression is
           actually in line with ORs that are found in other studies such as the meta-
           analysis that I describe above. ln my assessment as a clinician and researcher,     I



           do not believe that the findings of the hierarchail regression negate the risk
           identified and confirmed in the logistic regression performed by the authors'

           Eriksson et al (/ntJ cancer;2008; oct 7;723 (7); 1657-1663l reported on 910
           cases and 1016 controls and showed an OR of 2.36 (95%Cl:1.04-5.37)for
           developing NHL in individuals exposed to glyphosate more than 10 days in their
           lifetime. This study also shows that more exposure leads to higher risk similar to
           the McDuffie et al paper summarized above'

           The IARC report included the preliminary data of the Agricultural Health Study
           (AHS) (httpç.://aeheallh.nih.eov/), which was initially published by DeRoos et al
            in 2005 and found no association between glyphosate and NHL. The AHS is a
            prospective study that enrolled commercial pesticide applicators from lowa and
            North Carolina and in the mid-1990s, and who were followed prospectively with
            repeated questionnaires. The study was updated in 2018 (Andreotti et al; JNCI)
            where it found no association between glyphosate and NHL. I have analyzed this
            study personally and evaluated the methodologies. This study suffered several
            critical flaws, including, but not limited to, the dropout rate where almost 40%
            of participants lost to follow up and the fact that the control arm was farmers,
            an occupation established as a known risk factor for NHL, making it rather
            difficult to show increased risk for the glyphosate arm given the controls,
            Despite the imputation method that was applied by the authors, the 40%
            dropout rate ¡s substantial and cannot be ignored. Also, enrollees who
            completed the questionnaire during their follow up were required to describe
            their exposure during the "one year immediately prior to filling the
            questionnaire". Clearly, this is a major limitation that underestimates exposures
            for some of these resPondents.

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       o   Group 2A (probable) is the highest level of evidence short of a "definitive association",
           which is best established with randomized controlled study. Such study would be
           unethical as it exposes patients to a potentially harmful and probable carcinogenic
           agent.

       o The results of the IARC investigation were published in the Lancet Oncology in May 2015
            by Guyton et al (https://www.thelancet.comliournalsllanonc/artlcle/P1151470:
            2045( L5)70134-8/fu lltext).



       o    Epidemiologic studies were unable to look at subtypes of NHL when assessing
            epidemiologic causation. This is understandable as the classification of NHL has evolved
            over the years and there are many new subtypes that have been recognized that were
            not known in the late 1.990s or early 2000s. The latest classification for NHL was
            published in 2016 by Swerdlow et al
                                                                                                 this
            lbJtp://www.bloodiournal.orelcontent/bloodiournal/127120/2375.full.pdf)and in
            classification, over 60 subtypes of B and T cell NHL have been identified. This shows that
            epidemiologic studies would rarely be able to investigate association between any
            occupational hazard and types of NHL. Add to this the rarity of PCNSL $% of all NHLs),
            and we can conclude that studying epidemiologic evidence can be done for the entire
            disease category; in this instance NHL. Analogous to studying epidemiology of breast
            and prostate cancer. We study the epidemiology of these diseases in their totality even
            though we now recognize different subtypes of prostate and breast cancers.

a   Mr. Hardeman has been exposed to glyphosate in a manner that fits within the published
    epidemiologic literature and the studies where causation and an association between NHL and
    glyphosate have been demonstrated'



a   I met with Mr. Hardeman on Friday tL/t6l2)t8.



.   Mr. Hardeman shared with me a photo of the lymph node enlargements that he had when he
    was initially diagnosed.
o   He discussed his chemotherapy experience as stated and summarized above.
o   He mentioned that he had a recent surgery for melanoma-in-situ in August 2018, where he
    needed a small skin graft. He recalled that back in 2000, he had surgery for leg basal cell cancer
    of the skin.
o   He quit tobacco use in 1980; previous to that he smoked %PPD for about 20 years. He drinks
    occasionally, especially wine with dinner. He told me about his lV drug use between L966-1969,
    after which he did not use any drugs. And was enlisted in the army for 3 years (1970-1973).
o   He initially worked in finance after leaving the army. He then formed his own company with his
    wife and son, called (Bay World industries). He would help manufacture hardware to casinos
    and also do signage boards.
o He lives currently with his wife; he has one adopted child'
o His family history is negative for lymphomas, He is the youngest of 5 siblings.
o He does have HTN and open angle glaucoma, for which he takes medicines'
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   a     I performed a brief physical examination. He has no palpable nodes and no mouth sores. His
         cardiac exam is negative and his lungs are clear to auscultation. His abdomen is slightly obese
         but no palpable spleen or liver. His extremities are without edema or calf tenderness' His
         neurological exam is not focal.

   a     ln performing the differential diagnosis into what caused Mr. Hardeman's DLBCL, I conclude, to
         a reasonable degree of medical certainty, that his exposure to roundup/glyphosate is a
         substantial factor contributing to the development of his NHL. While the history of hepatitis B is
         a risk factor, its contribution to the development of Mr. Hardeman's NHL is minimal and does
         not negate the substantial risk that was caused by RoundUp/Glyphosate. His history of hepatitis
         C is noted, but this was in remission and as I explain above, I do not believe it contributed
                                                                                                       to Mr.
         Hardeman's NHL.




Signed



Chadi Nabhan, MD, MBA, FACP




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